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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


 STATE OF CONNECTICUT,

                      Plaintiff,

       v.                                                          Case No. 3:24-cv-00239-SRU

                                                                   District Judge Stefan R. Underhill
 EIDP, INC.; DUPONT DE NEMOURS, INC.;
 THE CHEMOURS COMPANY; THE
 CHEMOURS COMPANY FC, LLC;
 CORTEVA, INC.; and 3M COMPANY,

                      Defendants.




    DEFENDANT 3M COMPANY’S NOTICE OF SUPPLEMENTAL AUTHORITY

       3M respectfully submits this notice of supplemental authority to inform the Court of People

ex rel. Raoul v. 3M Co., 2024 WL 3682099 (7th Cir. Aug. 7, 2024) (published), which supports

denial of Connecticut’s motion to remand to state court.

       In Raoul, Illinois sued 3M in state court seeking recovery for damages resulting from PFAS

contamination emanating from a 3M manufacturing facility in Cordova, Illinois. In an attempt to

avoid federal jurisdiction, the complaint “expressly excluded” liability based on contamination

resulting from AFFF as a basis for recovery. Op.2-3. After 3M removed the matter to district court

on federal-officer grounds, the district court remanded. Op.2. The Seventh Circuit affirmed the

remand order. Relying on Baker v. Atlantic Richfield Co., 962 F.3d 937 (7th Cir. 2020), the

Seventh Circuit recognized that the government-contractor defense raised by 3M is “viab[le]” even

when a plaintiff “disclaim[s]” recovery for certain contamination, such as Illinois’s attempt to

disclaim recovery for AFFF, because “a factfinder would need to apportion the contamination”



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between sources. Op.4. That task presents “‘difficult causation question[s] that,’” under the

federal-officer removal doctrine, “‘a federal court should be the one to resolve.’” Id.

       But during oral argument, Illinois “expressly agreed that a factfinder will not need to

apportion the PFAS contamination between sources” because it conceded that it may recover only

“in areas where the contamination is wholly derived from” non-AFFF PFAS. Op.5 (emphasis

added). In those circumstances, “even a morsel” of PFAS from AFFF would bar Illinois from

recovering. Id. On that understanding alone, Raoul held that the case could proceed in state court.

       Connecticut has made no comparable concession. Quite the opposite: Connecticut insists

the factfinder will need to apportion the contamination between AFFF and non-AFFF PFAS,

arguing that “[i]f the factfinder determines that the PFAS contamination was caused in part by

MilSpec AFFF, then the State’s recovery will be reduced accordingly.” Reply in Supp. of Mot. for

Remand 7, ECF No. 50. Connecticut contends that commingling PFAS from AFFF and non-AFFF

sources “cannot form the basis for removal,” Mem. in Supp. of Mot. for Remand 15, ECF No. 41-

1, but Raoul explained that unless a case is limited to areas where “100% of [the] contamination”

is from non-AFFF PFAS, it will involve “‘difficult causation question[s]’” that are to be resolved

by a federal court. Op.4-5. Connecticut has argued that Baker is inapposite in PFAS cases, Reply

5, but Raoul clearly rejects that suggestion. Under Raoul, even when a party disclaims AFFF-

related recovery, a federal court must decide any remaining apportionment questions. Op.4-5.

Because Connecticut agrees that apportionment could be required here, this Court should follow

Raoul and reverse the district court’s remand order.




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                                   Respectfully submitted,

August 27, 2024                    /s/ James I. Glasser
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                                    CERTIFICATE OF SERVICE

       I certify that on August 27, 2024, I caused the foregoing Notice of Supplemental Authority

to be filed with the Clerk of the Court via the CM/ECF system, which will serve notice of the filing

upon all counsel of record.



                                                             /s/ James I. Glasser
